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             EXHIBIT E
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L 1984-03-28 no. 131

The State Account’s Act
§2
The rules on state accounting include all ministries, institutions, etc., if the operating budget is
admitted to the granting act.

Paragraph 2. The relevant minister may decide that the statutory rules on accounting and rules
issued according to the law on this, must apply to institutions, associations, foundations, etc.,
1)      if expenses or accounting losses are covered by government grants or by contributions, tax
        or other income under the law, or

2)     that receive capital contributions, grants, loans, guarantees or other support from the state
       or an institution, etc., covered by subsection1, if the capital contribution etc. has a
       significant impact on the recipient.

Paragraph 3. Paragraph 2 does not apply to the extent that other legislation containing rules on
accounting are contradictory with the law or with the rules laid down by law.
